                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



Delaware Valley Aesthetics, PLLC et al., :             CIVIL ACTION
                 Plaintiffs,             :
                                         :
      v.                                 :             No.   20-0456
                                         :
Doe et al.,                              :
                 Defendants.             :

                                     ORDER

         AND NOW, this 14th day of December 2021, upon consideration of
Plaintiffs’ Motion for Alternative Service (ECF No. 53), it is hereby ORDERED
that Plaintiffs’ Motion is GRANTED. Plaintiffs shall serve the Second Amended
Complaint and Summons on Defendant John Doe 1 by December 28, 2021 via
email.
         It is FURTHER ORDERED that the deadline for the close of fact
discovery shall be extended to March 4, 2022.



                                                 BY THE COURT:


                                                 /s/ Chad F. Kenney

                                                 CHAD F. KENNEY, JUDGE
